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                               UNITED STATES DISTRICT COURT
                               R THE EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

MORINVILLE,
                                                                                           DEC 1 3 2021
                                                                                       Clerk, U.S. District Court
        Plaintiff,                                                                     Eastern District of Texas


        v.                                                          Case No. 20-cv-00980

OVERWATCH DIGITAL
HEALTH, INC. ET AL.,

          Defendants




     PLAINTIFF S REPLY TO JOINT MOTION OF CLIVE BARRETT, EMMANUEL
          CORREIA, AND RISION LIMITED FOR SUMMARY JUDGMENT

       Plaintiff Paul Morinville files this reply to Defendants Clive Barrett, Emmanuel Correia,

and Rision Limited ("Defendants") Motion for Summary Judgment ( Motion ). The Defendants

engaged in a fraud by partici ating in a scheme to obtain control of my technology and intellectual

property in order to unjustly enrich themselves.


       In furtherance of its fraud, the Defendants have deliberately withheld important documents

from this Court and in contravention of its obligation under this Court s discovei rules and have

omitted key facts and information (all of hich are fatal to their case) in their declarations and

those of BioEye, LTD. ( BioEye ) board members, officers, and executives. The deliberate failure

to disclose these important documents as well as the omission of adverse information directly

refutes what the Defendant s disingenuously claim in its Motion are conclusive and “undisputed

facts . For undisputed facts to be conclusive, they must include n/Z the facts, not just the facts that

the Defendant’s prefer while they deliberately hide the facts that unequivocally undermine their

Motion.


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         The Defendant s argument is primarily predicated on the provably false assertion that

BioEye and Overwatch Technologies, Inc. ( Overwatch ) did not merge into a single entity

(Overwatch/BioEye). This false assertion is at the core of the fraud that enabled the Defendants to

abscond with my technology and intellectual property, which has been valued at approximately $39

million dollars.


         1. The Defendants assert on page 8 of the Motion at C, 36 that: The submissions to

the ASX and public statements regarding the RTO..reflected that BioEye was a separate entity

from Overwatch.



               36. The submissions to the ASX and public state ents regarding the RTO reflected

      that Overwatch and BioEye always retained their separate legal identities. (Ferri Decl. $ 10, Exs.

      D & E; Barrett Decl. Ex. K; Correia Decl. $ 14, Ex. J).



         That assertion is false. EXHIBIT A is the January 2020 Overwatch/Bioeye Application for

In-Principal Advice (“First ASX Application ). The First ASX Application was the initial

application that Rision filed with the Australian Securities Exchange (“ASX”) for the regulatory

approval of Overwatch/BioEye’s reverse takeover (merger) of Rision.1 2


         Contrary to the position they ve taken in this case and in its Motion, the Defendants

informed the ASX in the First ASX Application that it had indeed merged with Overwatch by

January 2020 (when the First ASX Application was submitted to the ASX). On page 11 the First

ASX Application states: As a res lt of its acquisition of BioEye, (emphasis added) Overwatch



1 A reverse takeover (RTO) is a process whereby private companies can become publicly traded companies without
going through an initial public offering (IPO)...To begin, a private company buys enough shares to control a publicly-
traded company. The private company's shareholder then exchanges its shares in the private company for shares in the
public co pany. At this point, the private company has effectively beco e a publicly-traded company. See
https:/. www.investopedia.com/terms/r/reversetakeover.asp (last accessed December 11, 2021)
2 The ASX is an Australian public company that operates Australia s largest public equities market. The ASX is
regulated by the Australian Securities & Invest ent Commission which is an agenc of the Australian govern ent.
See https://en.wikipedia.org/wiki/Australian_Securities Exchange (accessed December 11, 2021).
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also conducts business in Tel Aviv, Israel where additional engineering resources and research and

development are located. Clipped from the First ASX Application:


      W ere are the entity s main       Overwatch's current business activities are solely within the United States. Overwatch s
      business activity or activities   main office in Dallas, Texas is where the compan 's U.S. engineering team, sales an
      conducted?12                      marketing and executive officers are located. As a result of its acquisition of BioEye,
                                        Overwatch also con ucts business activities in Tel Aviv, Israel where additional
                                        engineering resources and research and development efforts are located.



         The First ASX Application, was reviewed and authorized by the Defendants and is a critical

document that was not disclosed by the Defendants in discovery. Indeed, the Defendants avoided

any substantive discussion of the First ASX Application in all of declarations that BioEye

submitted of its board members, officers, or executives or in the Defendant s version of

 undisputed facts in its Motion notwithstanding that the Defendants did find it fit to disclose in

discovery the ASX applications of April 2020 and July 2020.3


         2. While the Defendants goes into great detail in its Motion and supporting affidavits

to explain that the second ASX application of April 2020 submitted to the ASX shows BioEye and

Overwatch as separate entities, the Defendants did not provide (because none exists) in any

discovery, declarations or anywhere else that BioEye s Board of Directors voted to authorize

Bioeye to somehow become unacquired by Overwatch between the time of the First ASX

Application in January 2020 (which advised the ASX that, in fact, Overwatch had acquired

BioEye) and the subsequent ASX applications. There are also no Overwatch board minutes

showing that Overwatch’s Board of Directors had voted for Overwatch to divest itself of BioEye.

         3. Throughout this case in virtually every filing with this Court, the Defendants have

asserted that BioEye never merged with Overwatch. In its Motion on page 8, at C, 35 the




3 The only acknowledgements of the First AXS Application were in fleeting references to it only noting that it has been
filed (while o itting any discussion of BioEye s admission that Overwatch and BioEye had merged). See Motion at
Page 9; the Barrett Declaration at Paragraph 11; and the Correia Declaration at Paragraph 11.
                                                                4
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Defendants offer by way of proof that the entities never merged by noting that Overwatch and

BioEye maintained separate legal identities.


       Page 8 of the Motion:



             35. Overwatch and BioEye maintained their separate legal identities at all times from

     July 1, 2019, through September 30, 2020. (Ferri Decl. 9, Ex. C; Correia Deck 12-14, Ex. I;

     Plaintiffs Response to Joint Defendant s 12(c) Motion at p. 7).



       That offer of proof is directly contradicted by the very documentation that

Overwatch/BioEye (through its Board of Directors, officers, and management) created, authorized,

and distributed to investors (existing and prospective), Australian regulators on the ASX, and

others to describe the Overwatch/BioEye entity.


       EXHIBIT B is a letter to Overwatch/BioEye Convertible Note and Promissory Note

Holders dated March 27, 2020 (the March 27, 2020 Investor Letter ) seeking additional

investment capital, which was reviewed, and authorized by the Defendants, and distributed by

Overwatch s Chief Executive Officer, Terry Fokas, to c rrent and prospective Overwatch/BioEye

investors. The March 27, 2020 Investor Letter specifically states that Overwatch had acquired

BioEye. (as noted in my previous correspondence, Overwatch entered into an agreement in


September 2019 to acquire Israel-based BioEye). Clipped from page 1 of the March 27, 2020

Investor Letter:

                                          Overwatch Funding

        Since its inception in February 2019, Overwatch has raised approximately US S million
through sales of convertible and promissory notes. The intended use ol these funds was to build out our
epilepsy monitoring and alertin application (the Over atch App ) and to implement machine
lea ing and artificial intelligence training algorithms to enhance accuracy. In addition, these funds were
to be used to pay development costs for the Eympact App (concussion detection application) and the
Eympair App (ch g-detection application) which are based on technology created by BioEye, Ltd. (as
noted in my previous correspondence. Overwatch entered into an agreement in September 2019 to
acquire Israel-based BioEye).

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          EXHBIT C is pages 1 -3 of an investor presentation entitled RISION, LTD -

OVERWATCH/BIOEYE CORPORATE PRESENTATION ( Overwatch/BioEye Corporate

Presentation ),4 which was written, reviewed, and authorized by the Defendants, and used in

distribution to potential investors to attract investment into Overwatch/BioEye. EXHIBIT C shows

that the merged Overwatch/BioEye entity was tangibly created because the Defendants named it

and sought investment in it.


          EXHIBIT D is page 24 of the Overwatch/BioEye Corporate Presentation. EXHIBIT D

shows that members of BioEye s Board of Directors 5 are also members of the Overwatch/BioEye

Board of Directors.


          EXHIBIT E is pages 25-26 of the Overwatch/BioEye Corporate Presentation. EXHIBIT E

shows the Overwatch/BioEye Management Team included Terry Fokas as the CEO (Mr. Fokas was

formerly the CEO of Overwatch); Eran Fem as the President (Mr. Fem was formerly the CEO of

BioEye); Dovi Yellen as the Chief Scientist (Mr. Yellen was formerly the Chief Scientist of

BioEye); and me as Vice-President of Product Development for the merged entity.


          EXHIBIT F shows an organizational chart of Overwatch/BioEye in January 2020

detennining the chain of co mand of Overwatch/BioEye and the organizational matrixed

relationships supporting the Overwatch/BioEye products. In EXHIBIT F, BioEye’s name is not

listed anywhere, and the various products being developed by Overwatch/BioEye are noted by

product name (e.g. Overwatch App, Cognitive Decline, Eympair and Eympact) without reference to

separate ownership of such products by Overwatch or BioEye. Product development is a single

unit split by function to support these Overwatch/BioEye products, with Engineering located in the

US, and Innovation and Research in Israel. EXHIBIT F also shows the reporting chain of



4 The full presentation was EXHIBIT 1 of the Defendants reply to their original Motion to Dismiss.
5 Members of the BioEye s Board of Directors are Clive Barrett and Emmanuel Correia.
                                                                 6
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command with all business lines responsible to and ultimately reporting to Mr. Fokas as the merged

entity s CEO. These organizational and reporting relationships are the foundation of how a unitary

company is structured and managed. Nothing in these relationships show any separate existence

between Overwatch and BioEye. In fact, they show the opposite, that Overwatch and BioEye were

indeed merged into a single entity.


          To summarize, EXHIBIT A, the First ASX Application filed with the Australian security

regulators by the Defendants, states explicitly that Overwatch acquired BioEye. EXHIBIT B

shows that the merged Overwatch/BioEye entity received investment in the form of convertible and

promissory notes issued to investors, and explicitly states that Overwatch acquired BioEve in

September of 2019. Importantly, EXHIBIT B does not identify any conditions precedent for that

acquisition. EXHIBIT C shows that the Defendants marketed the merged Overwatch/BioEye to

investors to attract investment. EXHIBIT D shows that BioEye s Board of Directors became

members of Overwatch/BioEye’s Board of Directors. EXHIBIT E shows that the management

teams of Overwatch and BioEye were operating under a combined Overwatch/BioEye entity.

EXHIBIT F shows that the organizational and reporting chart of the merged Overwatch/BioEye

entity.


          Exhibits A, B, C, D, E, and F written, reviewed, and authorized by the Defendants, fly in

the face of the Defendant’s assertions (and purported undisputed facts ) that there never was a

merged entity. If the merger did not take place, as the Defendants now adamantly assert, then the

Defendants perpetrated a fraud on its investors, the public and Australian securities regulators.


          4. Further evidence of a merged Overwatch/BioEye entity, is found in a March 20,

2020 email, which was disclosed in discovery by Overwatch, between Fokas, Barrett and Correia

discussing funding of the merged entity (EXHIBIT G). The attachment to that email titled

 Overwatch Monthly Expenses Commencing on April 1,2020 lists employee costs. Included in
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the list of employees are former BioEye employees Dovi Yellen and Rotem Tzuk. (EXHIBIT H).

Clipped from EXHIBIT H:


           Employee/Function           Previous Compensation               Reduced Compensation



     Dovi Yellin                  $9,500/month                        $7,500/month

     Rotem Tzuk                   $10,000/month                       $7,500/month



      5. In May 2020, the Defendants ordered Fokas to direct all Overwatch/BioEye s efforts

and funding to the development of Eympact to perform sideline concussion testing for the

Australian Football League ( AFL ). I was sked to work exclusively on Eympact to finalize

product development for sideline concussion testing for the AFL.

       Unknown to anyone, the Defendants were secretly negotiating a contract between the AFL

and Bioeye alone. EXHIBIT G is Correia s discovery document number ID DOC 437. On page 4

are the call notes of Correia taken during a call on June 11, 2020 (several months prior to my

termination in September 2020). Correia writes AFL paperwork next to the name Rosich and

highlights it in yellow. The name Rosich refers to Steve Rosich, a former AFL executive and

Chairman of the Board of Directors of Rision who was also the point person for discussions with

the AFL.


       The documents referred to by “AFL paperwork were withheld from discovery by the

Defendants. AFL paperwork likely refers to a contract at some stage of negotiations taking place

between BioEye and the AFL at the very same time that the Defendants had instructed me to focus

all my efforts on Eympact.


       Fro the very beginning of this case, the Defendants have attempted to hide the existence

of an AFL contract. In BIOEYE LTD. S ANSWER TO PLAINTIFFS’ ORIGINAL COMPLAINT


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dated 03/30/2021, (the BioEye Answer ) the Defendants        specifically denies that it (a) ... (b) has

co tracted with the AFL as of the date that the Complaint as filed. However, in October 2020

(several weeks after I was terminated in September 2020), Mr. Barrett contacted me and inquired if

I would go to Australia to work on the field with AFL personnel during the AFL preseason (which

would commence in November 2020) using the sideline concussion detection product I had

developed. It is simply not plausible that BioEye and the AFL had not entered into a contract prior

to Mr. Barrett s call in October 2020 requesting that I undertake concussion sideline testing during

the AFL preseason. In addition, EXHIBIT I, which is an article by the Guardian dated 3/12/2021,

that was published 18 days prior to the filing of the BioEye Answer shows that BioEye had indeed

contracted with the AFL to perform sideline concussion testing.


       Prior to BioEye’s merger with Overwatch, BioEye did not have any revenues, any

customers, or any viable commercial products. However, because of my technology and intellectual

property, which included the creation of Eympact as a sideline concussion detection product during

high impact sporting events, BioEye was able to enter into an agreement with the AFL to test

Eympact during the 2020 AFL preseason and the 2021 AFL regular season thereby significantly

increasing the value of BioEye.

       As the Defendants indicate on page 11, item 56 of their Motion, the top reasons for ASX

denial of August 2020 was [(a)] the early stay of Overwatch s proposed business operations and

the limited history of the proposed business available to the ASX; [(b)] the very early stage of

BioEye’s proposed business operations and unproven business model, including the fact that

Eympair and Eympact have not yet been commercialised; . The AFL agreement secretly in

negotiations by the Defendants would overcome the top reasons for the ASX denial enabling the

Defendants to RTO with BioEye alone.



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       The agreement with the AFL provided ample motivation for the Defendants to ensure the

RTO (which would have included Overwatch, and which would have significantly reduced the

amount of equity that would have inured to the Defendants if they had to share the proceeds of the

RTO with Overwatch s shareholders and investors) did NOT take place.

       6. Overwatch/BioEye held itself out to be a single, unified entity to investors,

customers, government regulatory agencies, employees, vendors, and the public. Whether

Overwatch/Bioeye was a merger, an acquisition, a joint venture, a partnership, or some other

arrangement, Mr. Fokas, as the CEO who managed both entities, had the power and the authority to

bind both Overwatch and BioEye.

       7. The Defendants argue that I accepted the risk of a payout that was contingent upon

the closing of the merger with Rision and the RTO, and because that did not happen, I am not owed

anything, the Defendants also argue that it owes me nothing because there is no contract between

BioEye and me and because Fokas couldn t bind BioEye to any of Overwatch’s obligations.

       These arguments are tainted by the fact that the merger between Overwatch/BioEye and

Rision was scuttled by the Defendants (as more particularly discussed in Plaintiffs Second

Amended Complaint); that BioEye did merge with Overwatch into the Overwatch/BioEye entity

(as is abundantly evidenced in the Defendant’s own documents); and that BioEye controls my

technology and intellectual property (which I never assigned to either Overwatch or BioEye) and is

profiting from it without paying me.

       8. The Defendants also argue that I did not write any code, so I did not build the

technology and intellectual property, and therefore am owned nothing.

       However, writing code is not what creates technology and intellectual property. It is the

 what to be coded that does. A coder having no idea of what to code cannot just write code




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until the cows come home and ever expect to produce any product for any market. They can only

produce a mumbo-jumbo bunch of code.

       Someone must create the what to code and this “what is encapsulated in a requirements

document that describes to the coder what to code. A requirements document starts with the

customer and ends with a description of “what to code. I identified the market segments,

identified potential customers, extracted customer needs, and then created use cases; page flow

diagrams and data requirements for both the phone app; customer web apps; internal administration

apps; test plans; database normalization schemes; data security requirements; and more, all of

which rolled into requirements documents for the various products. These requirements documents

that I created were used by the BioEye to explain to the coders “what” to code and the coders coded

the products to meet the requirements documents.

       At the time I started working for Overwatch/BioEye in July 2019, BioEye had no

customers, no marketable products, no identified market segments, and no revenue. BioEye s sole


product (that was still in early-stage development) had only the ability to extract ocular biomarkers

from a video, put them on a server, and identify differences in these biomarkers by applying

artificial intelligence algorith s. BioEye had no customer interfaces, no administrative interfaces,

no database, inadequate security, no backend server applications and was lacking virtually all

aspects of a marketable product. In short, the BioEye’s product was unworkable and unmarketable

as evidenced by the fact that BioEye did not even have a single beta customer.

       Everything that BioEye coded after July 2019 was based on what I researched, created,

developed, and wrote into the requirements documents that resulted in the products Eympair,

Eympact and Over atch IDT, and therefore these products are my technology and intellectual

property.




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        9. Overwatch commissioned a valuation of Eympact and Eympair products. The

valuation was perfor ed under a variety of financial models including Future EV/Sales, Future

EV/EBITDA, Future EV/EBIT, Discounted Cash Flows, and Average Valuation. The Average

Valuation of Empact is approximately 12 million dollar s, and the Average Valuation of Eympair is

over 15 million dollars. Overwatch IDT, the sepsis detection product, was not part of the valuation,

but it is reasonable to assume that its valuation is similar, with an Average Valuation of potentially

12 million dollars. Combined, the Patent and technology that I developed is valued at

approximately 39 million dollars. Eympact s valuation was performed prior to the AFL contract,

thus it would valuate much higher now. BioEye s fraud transferred that value from me to BioEye,

leaving me with a loss and BioEye with an unjust enrichment of potentially 39 million dollars,

which continues to grow.

        10. Even if the Defendant’s claims are to be taken as true (they are not) - that BioEye

never merged with Overwatch so there was never any agreement between myself and BioEye - it

still fails to address the fact that BioEye is now in exclusive control of my technology and

intellectual property and profiting from it; I did not assign it to BioEye (nor did I assign it to

Overwatch so any purported assignment of my technology and intellectual property from

Overwatch to BioEye is null and void); and they did not pay me for it. At a minimum, I should be

compensated for the value of my technology and intellectual property, which has been valued at

$39 million dollars, by the Defendants under a theory of quantum meruit.

       Dismissing the Defendants from this case would allow the Defendants to keep and profit

from my technology and intellectual property and would result in a grave injustice to me.

       The Defendants have claimed that their facts are conclusive and undisputed and

therefore the Defendants should be dismissed on summary judgment. However, as discussed

above, the Defendants have hidden critical facts by failing to disclose them in discovery and in

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their declarations and those of BioEye s board members, officers and executives. Facts cannot be

 conclusive nor undisputed when the proffered facts are either in dispute, contradicted by the

Defendant s own documents or have been omitted. The facts of Overwatch and BioEye s merger,

the AFL contract, and the actions of the Defendants took causing the RTO to fail are legitimately in

dispute and for all the foregoing reasons, I ask that the court deny the Defendant’s Motion.




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                                         VERIFICATION
            I, Paul Morinville, believe that the previous responses are true and correct to the best

of my knowledge, information, and belief.

            I verify under penalty of perjury that the previous is true and correct.



                                                      Date: Dec 13, 2021



                                                      Paul Morinville
                                                      3902 Sequoia Trail West
                                                      Georgetown, TX 78628
                                                      paul@morinville.net
                                                      512-294-9563
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on December 13, 2021, a true and correct copy of the foregoing
was served by email on the parties listed below.

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                                                    Paul Morinville




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